                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      EASTERN DIVISION
                                        4:17-CR-5-FL-1

    UNITED STATES OF AMERICA                             )
                                                         )
                   v.                                    )                         ORDER
                                                         )
    SANJAY KUMAR,                                        )
                                                         )
                   Defendant.                            )


        The court held a hearing yesterday on defendant’s pro se letter motion for appointment of

counsel (D.E. 496, p. 4) and the subsequent notice filed by defendant’s counsel, Deborrah L.

Newton (D.E. 497, ¶¶ 3, 4), stating that in a telephone conversation with defendant after the filing

of his letter he wanted her to remain as his counsel.1 At the hearing, the court heard from

defendant, Attorney Newton, and counsel for the government.

        As announced at the hearing, the court finds that defendant does not presently wish to

terminate Attorney Newton, and she remains his attorney. Defendant’s motion for appointment of

counsel is therefore DENIED as MOOT.

        To facilitate preparation by Attorney Newton of the objections to the Presentence

Investigation Report (“PSR”) she is preparing, which must be filed by 1 July 2020 (see D.E. 479,

p. 3 no. 3), and to otherwise facilitate Attorney Newton’s representation of defendant, it is

ORDERED as follows:

        1.       Attorney Newton shall meet with defendant as soon as practicable, but in no event

later than Monday, 22 June 2020, to obtain from him the additional information she stated at the

hearing she needs to complete the draft objections. The court encourages defendant to provide


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  Attorney Newton further stated that defendant would write to the court pro se requesting withdrawal of his motion
for appointment of new counsel (D.E. 497, ¶ 4), but he made no such filing.



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Attorney Newton all the information she requests to better enable her to protect his interests with

respect to sentencing.

        2.      Attorney Newton shall provide to defendant as soon as practicable, but in no event

later than Saturday, 20 June 2020, a copy of the draft objections she has prepared. The draft

objections shall constitute, and be subject to the provisions regarding, case-related materials in the

Supplemental Protective Order (D.E. 434).

        3.      Attorney Newton shall meet with defendant to obtain his comments on the draft

objections to the PSR no later than Monday, 29 June 2020. To the extent practicable, Attorney

Newton shall also obtain at this meeting any comments defendant has on any changes she has

made to the draft objections subsequent to her provision of the copy to him pursuant to paragraph

2 above.

        4.      In lieu of any of the meetings provided for herein, Attorney Newton and defendant

may confer by telephone if they both agree to do so.

        5.      Within two days of a document being filed in the instant case, Attorney Newton

shall serve a copy of the document(s) on defendant and file a certificate of such service.

        6.      Because the terms in paragraph 2 above relate to activities in the present jail facility,

the Clerk’s Office is DIRECTED to serve as soon as practicable a copy of this Order on the U.S.

Marshal for this district. The U.S. Marshals Service in this district shall provide a copy of this

Order to the appropriate official(s) at the present jail facility.

        This 18th day of June 2020.

                                                         _________________________
                                                         James E. Gates
                                                         United States Magistrate Judge




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